                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



JAMES HAMBRICK, ET AL.                             )
                                                   )
v.                                                 )      NO. 3:14-1052
                                                   )      JUDGE TRAUGER
HAMID MASHHOON, ET AL.                             )




                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 10/6/2016 as to the order entered 10/6/2016 at DE#27.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Dalaina Thompson, Deputy Clerk




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